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                                      UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF DELAWARE


         In re                                                    Chapter 11

         OPEN ROAD FILMS, LLC, a Delaware                         Case No.: 18-12012 (LSS)
         limited liability company, et al.,1
                                                                  (Jointly Administered)
                                   Debtors.
                                                                  Ref. Docket Nos. 9, 160, 216, 217, 239, 300, 330, 360,
                                                                  384, 404, 416, 432, & 461

                       NOTICE OF (I) FILING OF (A) FIFTH SCHEDULE OF
          PURCHASED TITLES AND (B) STALKING HORSE BIDDER’S FOURTH SCHEDULE
           OF AVAILABLE CONTRACTS DESIGNATED AS ASSUMED CONTRACTS, AND
                 (II) FURTHER EXTENSION OF DESIGNATION CUT-OFF DATE

                          PLEASE TAKE NOTICE THAT, on October 23, 2018, the above-captioned

         debtors and debtors (collectively, the “Debtors”) and OR Acquisition Co, LLC (the “Stalking

         Horse Bidder”) entered into that certain Asset Purchase Agreement, dated as of October 23,

         2018, as amended (the “Stalking Horse Agreement”),2 for the sale of substantially all of the

         Debtors’ assets.

                          PLEASE TAKE FURTHER NOTICE THAT, on November 3, 2018, the

         Debtors filed (i) a copy of an updated Schedule 1.1(b) to the Stalking Horse Agreement (the

         “Schedule 1.1(b)”) and (ii) a schedule of the Available Contracts designated by the Stalking

         Horse Bidder, pursuant to Section 2.8(a) of the Stalking Horse Agreement, as Assumed

         Contracts (the “Schedule of Assumed Contracts”) [Docket No. 300].


         1
           The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
         Open Road Films, LLC (4435-Del.); Open Road Releasing, LLC (4736-Del.); OR Productions LLC (5873-Del.);
         Briarcliff LLC (7304-Del.); Open Road International LLC (4109-Del.); and Empire Productions LLC (9375-Del.).
         The Debtors’ address is 2049 Century Park East, 4th Floor, Los Angeles, CA 90067.
         2
           The Stalking Horse Agreement is attached to the Notice of Filing of (I) Stalking Horse Agreement, (II) Summary
         of Proposed Bid Protections, and (III) Summary of Proposed Amendments to Bid Procedures Order [Docket No.
         216]. Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
         Stalking Horse Agreement.
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                          PLEASE TAKE FURTHER NOTICE THAT, on November 16, 2018 and on

         November 21, 2018, the Debtors filed (i) copies of further updated versions of Schedule 1.1(b)

         and (ii) updated versions of the Schedule of Assumed Contracts [Docket Nos. 384 and 404].

                          PLEASE TAKE FURTHER NOTICE THAT attached hereto as Exhibit A is a

         further updated copy of Schedule 1.1(b) (the “Fifth Schedule 1.1(b)”).3

                          PLEASE TAKE FURTHER NOTICE THAT attached hereto as Exhibit C is a

         further updated Schedule of Assumed Contracts (the “Fourth Schedule of Assumed Contracts”).4

                          PLEASE TAKE FURTHER NOTICE THAT that, except as otherwise

         provided for in the Sale Order and notwithstanding the inclusion of an Available Contract on the

         Fourth Schedule of Assumed Contracts, the Debtors and the Stalking Horse Bidder have further

         extended the Designation Cut-Off Date under the Stalking Horse Agreement until December 19,

         2018 at 12:00 p.m. (ET) for the Available Contracts set forth on Exhibit E attached hereto (the

         “Schedule of Extended Contracts”).

                          PLEASE TAKE FURTHER NOTICE THAT all rights of the Debtors and the

         Stalking Horse Bidder under the Stalking Horse Agreement are reserved, including, without

         limitation, to amend, supplement, or otherwise modify the Fifth Schedule 1.1(b), the Fourth

         Schedule of Assumed Contracts, and the Schedule of Extended Contracts.




         3
            For ease of reference, attached hereto as Exhibit B is a comparison of the Fifth Schedule 1.1(b) marked against
         the previous version.
         4
           For ease of reference, attached hereto as Exhibit D are the pages of the Fourth Schedule of Assumed Contracts
         with changes from the previous version. Bolded font indicates a contract has been added to the Fourth Schedule of
         Assumed Contracts and strike-through font indicates a contract has been removed from the Fourth Schedule of
         Assumed Contracts. For the avoidance of any confusion or doubt, the numbers identified on the left-hand side of the
         Fourth Schedule of Assumed Contracts under the column titled “#” are not intended to correspond to the numbers
         identified on the left-hand side of the exhibits attached to the Notice of Proposed Assumption and Assignment of
         Executory Contracts and Unexpired Leases [Docket No. 172] and the Notice of Filing of Schedule of Contracts With
         Amended Cure Amounts [Docket No. 248] under the columns titled “#”.
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         Dated: December 18, 2018               /s/ Ian J. Bambrick
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